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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
                                              §
VS.                                           §     CRIMINAL NO. H-10-258-4
                                              §
                                              §
PATRICK LANIER                                §

                                          ORDER

       The attached Court’s Instructions to the Jury at Conclusion of Trial was charged to

the jury on even date and is to be entered in the record.

              SIGNED on February 26, 2014, at Houston, Texas.


                                                  ______________________________________
                                                           Lee H. Rosenthal
                                                     United States District Judge
